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Umted States Dlstrlct Court @<:%/Q, %~
WESTERN DISTRICT oF TENNESSEE §C%i"?`@;@
Eastern Division "F’ '
JUDGMENT IN A CIVIL CASE
TEcHTRoNlc iNDusTiREs NoRTH
AMER\cA, lNc..
V.
sHANE DEXTER and cAsE NuMBER: 1;04-1283~T/An

THE BLACK & DECKER CORP.,

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

lT lS ORDERED AND ADJUDGED that in compliance with the order entered in

the above-styled matter on 4/20/2005, this action ls D|SM|SSED as to both defendants
without prejudice, with all costs of court to be assessed to the Plaintiff.

APPROVED:

)i.e¢w\

JA D. TODD
UN ED STATES D|STR|CT JUDGE

ROBERT R. Di TROLlO
CLERK

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DATE / '“ DEPuTY cLERK

 

 

This document entered on the docket sheet in compliance

with Ru|e 58 and/or 79(3) FRCP on ("l ¢& ¥,) § >S .

 

DISTRICT COURT- WESTERN DISTRICT OF TENNESSEE

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Honorable J ames Todd
US DISTRICT COURT

